Case 4:25-cv-10660-SDK-EAS ECF No. 24, PageID.1387 Filed 06/30/25 Page 1 of 41




                     UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF MICHIGAN (FLINT)

MARC MITCHELL SUSSELMAN                 and   )
MARTIN H. LEAF,                               )
                                              ) NO. 25-cv-10660
                      Plaintiffs,             )
                                              )   HON.   SHALINA D. KUMAR
Vv.                                           )
                                              )   MAGISTRATE      JUDGE
MICHIGAN ATTORNEY GRIEVANCE                   ) ELIZABETH A. STAFFORD
COMMISSION, et al.                            )
                                              )
                       Defendants.            )

                     NON-PARTY MOTION              FOR LEAVE TO
                   FILE MOTION        AND     BRIEF      UNDER   SEAL

       Michelle J. Kinnucan ("Movant"), pro se’, pursuant to LR 5.3, Fed. R. Civ.

Pro. 5.2(d), and the Court's inherent authority over its own records and files, re-

spectfully seeks the Court's leave to file, under seal, a motion (attached herein as

Exhibits 1 & 2) and supporting brief (attached herein as Exhibits 3 & 4).

       Movant communicated with Plaintiffs' and Defendants' counsel on May 26-

27, 2025. Concurrence in the instant motion and in the motion to strike, seal, and

redact was not granted by counsel for either party.

       Specifically, this sealing motion aims to prevent Movant's name, home ad-

dress, phone number, and email address from disclosure in relation to immaterial,


 1. "Pro se plaintiffs enjoy the benefit of a liberal construction of their pleadings
and filings." Boswell v. Mayer, 169 F.3d 384, 387 (6th Cir. 1999).

                                              1
Case 4:25-cv-10660-SDK-EAS ECF No. 24, PageID.1388 Filed 06/30/25 Page 2 of 41




impertinent, and scandalous material already improperly placed in the court record

primarily by Plaintiffs and, to a lesser extent, by Defendants. None of the proposed

sealed material has been designated as confidential under a protective order. In

short, the present motion seeks to prevent the "additional exploitation of materials

originally thought to be confidential." Nixon v. Warner Communications, 435 U.S.

at 598, 599n11 (1978).

      The motion and supporting brief, which Movant now seeks to have filed un-

der seal, pertain to material already in the case files that is: 1) privileged, confiden-

tial, and non-public within the meaning of Mich. Ct. R. 9.126; and, 2) immaterial,

impertinent, and scandalous within the meaning of Fed. R. Civ. Pro. 12(f)(1); and,

3) improper under the common law. The motion and supporting brief to be filed

under seal will perforce highlight, discuss, and quote some of the very material

Movant seeks to have removed from the record.

      Thus, filing of the motion and supporting brief unsealed, unredacted, and

available to the public would: 1) further undermine the confidentiality of privileged

material and, therefore, adversely impact Movant's privacy interests; and, 2) would

amplify the improper use of the proscribed material, thus, defeating the very pur-

pose of the contemplated motion to strike, seal, and redact the proscribed material.
Case 4:25-cv-10660-SDK-EAS ECF No. 24, PageID.1389 Filed 06/30/25 Page 3 of 41




      The instant motion for leave to file under seal is narrowly tailored to protect

the privacy interests of Movant, a non-party to present case, and to protect the con-

fidentiality of Michigan attorney disciplinary files and records that should never

have been placed in the record in the first place.

      The Court has ample grounds and authority to grant this motion. "[T]rial

courts have always been afforded the power to seal their records when interests of

privacy outweigh the public's right to know." Jn re The Knoxville News-Sentinel,

723 F.2d 470, 474. (6th Circ. 1983). Here, as in Knoxville, the Movant is a "third

party who was not responsible for the initiation of the underlying litigation." Id. at

477. (cleaned up). The Movant also "possesses a justifiable expectation of privacy

that her name and related personal information not be revealed to the public. Her

interests in privacy are sufficiently compelling to justify non-disclosure." Id. at

477. (cleaned up).

      For the reasons stated herein, Movant respectfully requests that this honor-

able Court grant leave to Movant to file her motion and supporting brief under seal,

pursuant to LR 5.3, Fed. R. Civ. Pro. 5.2(d), and the Court's inherent authority over

its own records and files. Arthur Krause, et al. v. Rhodes, et al., 671 F.2d 212, 218

(6th Cir. 1982). ("Every court has supervisory power over its own records and files,
Case 4:25-cv-10660-SDK-EAS ECF No. 24, PageID.1390 Filed 06/30/25 Page 4 of 41




and access has been denied where court files might have become a vehicle for im-

proper purposes.") (citation omitted).



DATED: June 29, 2025                     Respectfully submitted,


                                         /s/ Michelle J. Kinnucan,
                                                                 pro se
                                         2850 NW 56th St., Apt 308
                                         Seattle, WA 98107
                                         agcmi2024@mailbox.org
                                         206-245-8610
Case 4:25-cv-10660-SDK-EAS ECF No. 24, PageID.1391 Filed 06/30/25 Page 5 of 41




                            INDEX OF EXHIBITS

      Exhibit     |   Redacted Version of "Non-Party Motion to Strike, Seal,
                      and Redact Privileged, Confidential, Non-Public, Im
                      material, Impertinent, Scandalous, and Improper
                      Material"

      Exhibit 2.      Unredacted Version of "Non-Party Motion to Strike,
                      Seal, and Redact Privileged, Confidential, Non-Public,
                      Immaterial, Impertinent, Scandalous, and Improper
                      Material"

      Exhibit 3       Redacted Version of "Brief in Support of Non-Party
                      Motion to Strike, Seal, and Redact Privileged, Confiden
                      tial, Non-Public, Immaterial, Impertinent, Scandalous,
                      and Improper Material"

      Exhibit 4       Unredacted Version of "Brief in Support of Non-Party
                      Motion to Strike, Seal, and Redact Privileged, Confiden
                      tial, Non-Public, Immaterial, Impertinent, Scandalous,
                      and Improper Material"
Case 4:25-cv-10660-SDK-EAS ECF No. 24, PageID.1392 Filed 06/30/25 Page 6 of 41




                          Exhibit 1

          REDACTED VERSION
           OF DOCUMENT(S)
             TO BE SEALED
Case 4:25-cv-10660-SDK-EAS ECF No. 24, PageID.1393 Filed 06/30/25 Page 7 of 41




                      UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF MICHIGAN (FLINT)

MARC MITCHELL SUSSELMAN                     )
and MARTIN H. LEAF,                         )
                                            ) NO. 25-cv-10660
                     Plaintiffs,            )
                                            )   HON.   SHALINA D. KUMAR
vs.                                         )
                                            )   MAGISTRATE       JUDGE
MICHIGAN ATTORNEY GRIEVANCE                 ) ELIZABETH A. STAFFORD
COMMISSION, et al.                          )
                                            )
                      Defendants.           )

         NON-PARTY MOTION TO STRIKE, SEAL, AND REDACT
      PRIVILEGED,       CONFIDENTIAL,           NON-PUBLIC,     IMMATERIAL,
      IMPERTINENT, SCANDALOUS, AND IMPROPER MATERIAL

      GREED                   ("Movant"), pro se, respectfully petitions this Court

for an Order, pursuant to Fed. R. Civ. Pro. 12(f)(1) and the Court's inherent author-

ity over its own records and files, striking, sealing, and redacting certain privi-

leged, confidential, non-public, immaterial, impertinent, scandalous, and improper

material in Plaintiffs' and Defendants' filings as more particularly described and for

the reasons set forth more fully in the accompanying brief.

      Movant communicated with Plaintiffs' and Defendants' counsel on May 26-

27, 2025. Concurrence with this motion was not granted.
Case 4:25-cv-10660-SDK-EAS ECF No. 24, PageID.1394 Filed 06/30/25 Page 8 of 41




DATED: June __, 2025               Respectfully submitted,

                                   || (ED                     70 sc
                                   pO                        ]
 Case 4:25-cv-10660-SDK-EAS ECF No. 24, PageID.1395 Filed 06/30/25 Page 9 of 41




                             CERTIFICATE OF SERVICE

Thereby certify thaton June__, 2025, I electronically filed the above document with

the Clerk of the Court using the Pro Se Electronic Document Upload Program, which

will provide electronic copies to counsel of record.

                                       || (ED                270 sc
Case 4:25-cv-10660-SDK-EAS ECF No. 24, PageID.1396 Filed 06/30/25 Page 10 of 41




                          Exhibit 2

 UNREDACTED VERSION OF
    DOCUMENT(S) TO BE
   SEALED PURSUANT TO
      LR5.3(b)(3)(B)(iii)
    The portions of the document which are the
  subject of the motion are highlighted in yellow.
Case 4:25-cv-10660-SDK-EAS ECF No. 24, PageID.1397 Filed 06/30/25 Page 11 of 41




                       UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN (FLINT)

 MARC MITCHELL SUSSELMAN                     )
 and MARTIN H. LEAF,                         )
                                             ) NO. 25-cv-10660
                      Plaintiffs,            )
                                             )   HON.   SHALINA D. KUMAR
 vs.                                         )
                                             )   MAGISTRATE       JUDGE
 MICHIGAN ATTORNEY GRIEVANCE                 ) ELIZABETH A. STAFFORD
 COMMISSION, et al.                          )
                                             )
                       Defendants.           )

          NON-PARTY MOTION TO STRIKE, SEAL, AND REDACT
       PRIVILEGED,       CONFIDENTIAL,           NON-PUBLIC,     IMMATERIAL,
       IMPERTINENT, SCANDALOUS, AND IMPROPER MATERIAL

       ‘Michelle
          J. Kinnucan ("Movant"), pro se, respectfully petitions this Court

 for an Order, pursuant to Fed. R. Civ. Pro. 12(f)(1) and the Court's inherent author-

 ity over its own records and files, striking, sealing, and redacting certain privi-

 leged, confidential, non-public, immaterial, impertinent, scandalous, and improper

 material in Plaintiffs' and Defendants' filings as more particularly described and for

 the reasons set forth more fully in the accompanying brief.

       Movant communicated with Plaintiffs' and Defendants' counsel on May 26-

 27, 2025. Concurrence with this motion was not granted.
Case 4:25-cv-10660-SDK-EAS ECF No. 24, PageID.1398 Filed 06/30/25 Page 12 of 41




 DATED: June ___, 2025              Respectfully submitted,

                                    /s/ Michelle
                                              J. Kinnucan, pro se
                                   2850 NW Séth St., Apt 308
 Case 4:25-cv-10660-SDK-EAS ECF No. 24, PageID.1399 Filed 06/30/25 Page 13 of 41




                             CERTIFICATE OF SERVICE

Thereby certify thaton June _, 2025, I electronically filed the above document with

the Clerk of the Court using the Pro Se Electronic Document Upload Program, which

will provide electronic copies to counsel of record.

                                       /s/ Michelle
                                              J. Kinnucan, pro se
Case 4:25-cv-10660-SDK-EAS ECF No. 24, PageID.1400 Filed 06/30/25 Page 14 of 41




                          Exhibit 3

          REDACTED VERSION
           OF DOCUMENT(S)
             TO BE SEALED
Case 4:25-cv-10660-SDK-EAS ECF No. 24, PageID.1401 Filed 06/30/25 Page 15 of 41




                       UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN (FLINT)

 MARC MITCHELL SUSSELMAN                     )
 and MARTIN H. LEAF,                         )
                                             ) NO. 25-cv-10660
                      Plaintiffs,            )
                                             )   HON.   SHALINA D. KUMAR
 vs.                                         )
                                             )   MAGISTRATE      JUDGE
 MICHIGAN ATTORNEY GRIEVANCE                 ) ELIZABETH A. STAFFORD
 COMMISSION, et al.                          )
                                             )
                       Defendants.           )

  BRIEF IN SUPPORT OF NON-PARTY MOTION TO STRIKE, SEAL, AND
 REDACT     PRIVILEGED,        CONFIDENTIAL,         NON-PUBLIC,     IMMATERIAL,
       IMPERTINENT, SCANDALOUS, AND IMPROPER MATERIAL

                                     INTRODUCTION

       The present motion comes before the Court in a case where Plaintiffs seek to

 avoid accountability for alleged professional misconduct. Not content to merely at-

 tempt to evade accountability, Plaintiffs (and Defendants) also gratuitously violated

 the confidentiality of privileged Michigan Attorney Grievance Commission

 ("AGC") files and records and, therefore, Movant's right to confidentiality in the

 process. The wrongful disclosure of AGC files and records along with Plaintiffs’

 derivative averments concerning Movant are also immaterial, impertinent, scan-

 dalous, and improper and should be stricken, sealed, and redacted pursuant to Fed.

 R. Civ. Pro. 12(f)(1) and this Court's inherent authority.


                                             1
Case 4:25-cv-10660-SDK-EAS ECF No. 24, PageID.1402 Filed 06/30/25 Page 16 of 41




                                 MATERIAL       FACTS

        On April 30, 2024        iD                 ("Movant"), pro se’, filed a Re-

 quest for Investigation ("RFI") with the AGC. The RFI names Plaintiff Susselman

 as the respondent. The AGC subsequently opened an investigation based upon the

 RFI, assigning it AGC File No. 12-1244. Movant is, therefore, also the com-

 plainant in that investigation. However, Movant is not now and has never been a

 party to this case.

        Plaintiffs reference and identify Movant numerous times in their Complaint

 and First Amended Complaint ("FAC") as the complainant who filed the RFI.? ECF

 Nos. 1 & 13, passim. The RFI is incorporated in its entirety within both the Com-

 plaint and FAC as Exhibit 6. ECF No. 1, PageID.97-105; ECF No. 14, PageID.

 PageID.684-692. In addition to her name, Exhibit 6 also includes Movant's phone

 number, email address, and signature. ECF No. 1, PageID.98; ECF No. 14,

 PageID.685.

        Susselman filed an Answer, dated August 19, 2024, with the AGC. A copy of

 the Answer was provided by the AGC to Movant pursuant to Mich. Ct. R.



 1. "Pro se plaintiffs enjoy the benefit of a liberal construction of their pleadings
 and filings." Boswell v. Mayer, 169 F.3d 384, 387 (6th Cir. 1999). Cf Nixon v.
 Warner Communications, 435 U.S. at 598, 599 n.11 (1978).
 2. For example, excluding exhibits, Plaintiff's name or surname appears twenty-
 five times in the FAC alone.
Case 4:25-cv-10660-SDK-EAS ECF No. 24, PageID.1403 Filed 06/30/25 Page 17 of 41




 9.113(A). The Answer makes numerous references to Movant by name and is in-

 corporated within both the Complaint and FAC as Exhibit 7. ECF No. 1,

 PageID.106-158 passim; ECF No. 14, PageID. PageID.693-745 passim.

       In their Motion to Dismiss, Defendants, quoting the Complaint, also refer-

 ence and identify Movant by name as the complainant in the AGC's investigation

 of Susselman. ECF No. 11, PageID.477-478 46.

       On April 23, 2025, Defendants filed their Motion to Strike or Seal Plaintiffs'

 Exhibit 14 explaining that "Exhibit 14 attached to Plaintiffs' Complaint included

 purported Judicial Tenure Commission (JTC) letters against two individuals who

 are neither parties nor involved in this case." ECF No. 12, PageID.577 7. Con-

 trariwise, as of this writing, the Defendants have not filed a Motion to Strike or

 Seal any material in the case files derived from or pertaining to AGC File No. 12-

 1244 or any other AGC investigation referenced in Plaintiffs' pleadings.

       Furthermore, in their Response to Defendants' Motion to Dismiss First

 Amended Complaint, Plaintiffs reference and identify Movant by name as the com-

 plainant who filed the RFI. ECF No. 21, PageID.1201,      1210, 1215. Also, in their

 Response, Plaintiffs include as their Exhibit 1 "an affidavit provided to the   [Attor-

 ney Grievance] Commission in relation to another grievance filed against Mr. Sus-

 selman...." ECF No. 21, PageID.1226 n.5, 1238-1244. (emphasis added).
Case 4:25-cv-10660-SDK-EAS ECF No. 24, PageID.1404 Filed 06/30/25 Page 18 of 41




 Movant is identified by name as the complainant who filed the RFI in Plaintiffs'

 Exhibit 1. ECF No. 21, PageID.1243, 19.

                                     ARGUMENT

        Plaintiffs freely admit that their knowledge of Movant's identity and her per-

 sonal information is derivative of the AGC's privileged, confidential, and non-pub-

 lic investigation of Susselman: "It [i. e., the RFI] had been filed with the [Attorney

 Grievance] Commission . . . by an individual named QE                         Mr. Sus-

 selman had never heard of Ms QD.             . . and he had no idea who she

 was...." ECF No. 13, PageID.592.

        It would have been a simple matter for Plaintiffs to protect the Movant's con-

 fidentiality, as required by Mich. Ct. R. 9.126(A), by redacting her name and other

 personal information from their filings in this case. Yet, instead of doing that,

 Plaintiffs further concede that they included that material in knowing violation of

 the Michigan Court Rules: "Plaintiffs recognize that under MCR 9.126(A), investi-

 gations by the [Attorney Grievance] Commission and its staff are 'privileged from

 disclosure, confidential, and may not be made public." ECF No. 13, PageID.643

 483.

        There is no exception in the Michigan Court Rules permitting Plaintiffs to

 breach the confidentiality of an AGC investigation in order to file suit against the
Case 4:25-cv-10660-SDK-EAS ECF No. 24, PageID.1405 Filed 06/30/25 Page 19 of 41




 AGC.’ Moreover, maintaining the confidentiality of complainant identities in attor-

 ney disciplinary proceedings serves important ends:

        The purposes underlying confidentiality are obvious. Foremost, the
        tule serves to protect... the complainant from possible recriminations
        .   . Moreover, removing or unnecessarily qualifying the confidential-
        ity requirement would eliminate many sources of information and re-
        duce complaints received by the Board from lay citizens, litigants,
        lawyers, and judges. Finally, the rule serves to protect public confi-
        dence in the judicial system... .

 Doe v. Board of Professional Responsibility, 104 S.W.3d 465, 472 (Tenn. 2003).

 Analogously, the Michigan Supreme Court, discussing judicial disciplinary pro-

 ceedings, stated:

        [T]he confidentiality provisions . . . protect . . . citizen complainants.
        If the respondent and others similarly situated were allowed to dis-
        cover the name of every complainant . . . the free flow of information
        to the Commission would be curtailed . . . this Court would not want
        to discourage citizen complainants from voicing their ideas.

 In the Matter of Mikesell, 396 Mich 517, 534; 243 NW2d        86 (1976). Attorney and

 judicial disciplinary proceedings are both governed by Chapter 9 of the Michigan

 Court Rules.

 3. There are only two exceptions in Mich. Ct. R. 9.126(A): "At the respondent’s
 option, final disposition of a request for investigation not resulting in formal
 charges may be made public. In addition, any interested person may inspect the re-
 quest for investigation and the respondent’s answer thereto if a disciplinary pro-
 ceeding has been filed." Neither exception applies here as there has been no "final
 disposition" of the RFI and, as Plaintiffs acknowledge, "[N]o formal charges have
 been issued by the [Attorney Grievance] Commission against Mr. Susselman ...            ."
 ECF No. 13, PageID.641 980.
Case 4:25-cv-10660-SDK-EAS ECF No. 24, PageID.1406 Filed 06/30/25 Page 20 of 41




        The aims and scope of Mich. Ct. R. 9.126(A) concerning confidentiality

 should also be interpreted in the light of Mich. Ct. R. 9.102, which states: "Sub-

 chapter 9.100 is to be liberally construed for the protection of the public, the

 courts, and the legal profession and applies to all pending matters of

 misconduct . . . ." (emphasis added).

        Furthermore, Plaintiffs' breach of confidentiality serves no legitimate pur-

 pose in their litigation. Defendants declined to deny the allegation that Plaintiffs

 are the subjects   of AGC   investigations. ECF No. 18, PageID. 882 n.2, 895 n.4.

 Thus, the Defendants have conceded that fact.      Fed. R. Civ. Pro. 8(b)(6).

        In any event, the AGC and the Grievance Administrator have a duty to in-

 vestigate all allegations of attorney misconduct. Mich. Ct. R. 9.108, 9.109. Hence,

 even assuming, for the sake of argument only, that Movant submitted the RFI for

 an improper purpose or due to bias the Defendants would still have a duty to con-

 sider and evaluate the allegations of misconduct contained therein on their merits

 and, if warranted, commence a formal investigation.

        Therefore, the inclusion of material derived from the AGC's privileged, con-

 fidential files and records adds nothing that could conceivably aid Plaintiffs (or De-

 fendants) in their litigation here and is, thus, both immaterial and impertinent

 within the meaning of Fed. R. Civ. Pro. 12(f)(1). Llewellyn-Jones v. Metro Prop.
Case 4:25-cv-10660-SDK-EAS ECF No. 24, PageID.1407 Filed 06/30/25 Page 21 of 41




 Grp., LLC, 22 F. Supp. 3d 760, 776 (E.D. Mich. 2014) ("Immaterial matter is that

 which has no essential or important relationship to the claim for relief being

 pleaded. Impertinent matter consists of statements that do not pertain, and are not

 necessary, to the issues in question.") (cleaned up).

       Furthermore, Plaintiffs' averments regarding Movant are also calculated to

 evoke scandal, within the meaning of Fed. R. Civ. Pro. 12(f)(1), and for other im-

 proper purposes. /d. ("Scandalous generally refers to any allegation that unneces-

 sarily reflects on the moral character of an individual or states anything in repul-

 sive language that detracts from the dignity of the court.") (cleaned up).

       For instance, according to an affidavit submitted to the AGC by Henry

 Brysk, with the heading "Michigan Attorney Grievance Commission", Susselman

 breached the confidentiality of AGC files and records by informing Brysk of

 Movant's name and identity as the complainant. ECF No. 21, PageID.1226 n.5;

 PageID.1243-1244 419. The fruit of this breach is presented in Plaintiffs' pleadings

 in a footnote citing hearsay. To wit, Plaintiffs write: "According to Mr. Brysk, Ms.

GERD        who at the time was    Mr. QD         had administered a virulently anti-

 Semitic blog."* ECF No. 1, PageID.42 n.2; ECF No. 13, PageID.628 n.2.


 4. Here, Susselman's immaterial reference to the gendered honorifics "Ms." and
 "Mr." is obviously intended to evoke scandal and/or gratify spite by abusing this
 Court to "out" Movant as a transgender person. Inaccurate or not, Susselman's
 averment improperly infringes on Movant's privacy and safety. Powell v. Schriver,

                                            7
Case 4:25-cv-10660-SDK-EAS ECF No. 24, PageID.1408 Filed 06/30/25 Page 22 of 41




        Elsewhere, Susselman, in his Answer to the AGC, says: "Ms.            ED     is a

 political propagandist, with a particular obsession with Israel."° ECF No. 1,

 PageID.109 n.1. As his authority for the latter claims he cites a federal Freedom of

 Information Act lawsuit in which Movant is the plaintiff. However, Susselman



 175 F.3d 107, 111 (2d Cir. 1999) ("The excru[c]iatingly private and intimate nature
 of [gender identity], for persons who wish to preserve privacy in the matter, is re-
 ally beyond debate.") Cf. Bloch v. Ribar, 156 F.3d 673, 685 (6th Cir. 1998) ("Publi-
 cally revealing information [about sexuality] exposes an aspect of our lives that we
 regard as highly personal and private.") See also Grimm v. Gloucester Cty. Sch.
 Bd., 972 F.3d 586, 610-612 (4th Cir. 2020) (documenting that transgender people
 face stigma, discrimination, harassment, and violence because of their gender iden-
 tity); Hunter Iannucci, Erasing Transgender Public Figures' Former Identity with
 the Right to Be Forgotten, 73 FED. COMM. L. J. 259, 263-264 ("Transitioning is
 motivated ... partly by the fear of being 'found out,’ given the vulnerability of
 transgender persons to social stigma, discrimination, sexual assault, and physical
 attack."); and, German Lopez, /Cisgender] Women are Getting Harassed in Bath-
 rooms Because of Anti-transgender Hysteria, VOX (May 19, 2016), https://
 www.vox.com/2016/5/18/11690234/women-bathrooms-harassment .

 As a charter member of the United States Holocaust Memorial Museum, Movant
 is, seemingly, an unlikely antisemite. But see Itamar Mann & Lihi Yona, Defending
 Jews From the Definition of Antisemitism, 71 UCLA L. REV. 1150, 1154 (2024)
 ("[T]he Israeli government and its international allies are ever more forceful in
 conflating criticism of Israel with antisemitism in an effort to silence dissident
 voices.") /d. at 1174 ("The label of antisemitism ... is designed to prevent certain
 opinions from being heard.")
 5. "Political propaganda’ is ordinarily and commonly understood to mean material
 that contains half-truths, distortions, and omissions. To characterize a particular ex-
 pression of political ideas as 'propaganda' is to denigrate those ideas." Keene v.
 Smith, 569 F.Supp. 1513, 1520 (1983), rev'd sub nom. Meese v. Keene, 481 U.S.
 465 (1987). See also the dissent of Justice Blackmun: "The designation political
 propaganda’ is pejorative, denigrating to the material, and stigmatizing to those dis-
 seminating it. It simply strains credulity to assert that 'propaganda' is a neutral clas-

                                             8
Case 4:25-cv-10660-SDK-EAS ECF No. 24, PageID.1409 Filed 06/30/25 Page 23 of 41




 points to nothing in that case's record that supports his uncivil and scandalous

 claims about Movant.

       While Rule 12(f) motions are generally discountenanced "the disfavored

 character of Rule 12(f) is relaxed in the context of scandalous allegations i.e., those

 that improperly cast a derogatory light on someone." Asher & Simons, P.A. v. J2

 Global Canada, Inc., 965 F. Supp. 2d 701, 704 (D. Md. 2013) (cleaned up). Pre-

 cisely because they are wholly immaterial and impertinent the two examples above

 and other assertions about Movant, placed in the public record by Plaintiffs, were

 obviously included solely "to gratify private spite or promote public scandal".

       Susselman contends the AGC's investigation of him is antisemitic: "[T]he

 [Attorney Grievance] Commission's issuance of its Request [for Investigation] . . .

 violates the Equal Protection Clause because it unconstitutionally targets him...

 because he is Jewish." ECF No. 13, PageID.640. Clearly, by that line of argument,

 Movant is, to Plaintiffs' minds, likewise antisemitic. Thus, Plaintiffs' targeting of

 Movant are merely an expansion of their prior spiteful and scandalous attacks upon

 judges in the underlying federal case and appeals that led to the RFIs. As Defen-

 dants put it, "Plaintiffs routinely ... categorize the underlying cases' judges and De-

 fendants as antisemitic based on their own bias and irrelevant exhibits." ECF No.



 sification." /d. at 490 (cleaned up).
Case 4:25-cv-10660-SDK-EAS ECF No. 24, PageID.1410 Filed 06/30/25 Page 24 of 41




 22, PageID.1360. This Court, therefore, also has the inherent authority to purge

 this material from the public record on those grounds alone:

       Every court has supervisory power over its own records and files, and
       access has been denied where court files might have become a vehicle
       for improper purposes. For example, the common-law right of inspec-
       tion has bowed before the power of a court to insure that its records
       are not "used to gratify private spite or promote public scandal" . . .
       Similarly, courts have refused to permit their files to serve as reser-
       voirs of libelous statements ... .

 Arthur Krause v. Rhodes, 671 F.2d 212, 218 (6th Cir. 1982) (citation omitted).

       In sum, this Court has ample grounds and authority to grant the relief re-

 quested by Movant. "[T]rial courts have always been afforded the power to seal

 their records when interests of privacy outweigh the public's right to know." Jn re

 The Knoxville News-Sentinel, 723 F.2d 470, 474 (6th Circ. 1983). Here, likewise,

 the Movant is a "third party who was not responsible for the initiation of the under-

 lying litigation." /d. at 477 (cleaned up). The Movant also "possess[es] a justifiable

 expectation of privacy that [her] name and [related personal information] . . . not

 be revealed to the public. [Her] interests in privacy are sufficiently compelling to

 justify non-disclosure." /d. "As noted in Brown & Williamson, the ‘privacy rights of

 . .. third parties' are among those interests which, in appropriate cases, can limit

 the presumptive right of access to judicial records." /d. at 478.

                   CONCLUSION AND RELIEF REQUESTED



                                            10
Case 4:25-cv-10660-SDK-EAS ECF No. 24, PageID.1411 Filed 06/30/25 Page 25 of 41




        Plaintiffs' continued refusal to abide by the Michigan Court Rules, the

 Michigan Rules of Professional Conduct, and the Federal Rules of Civil Procedure

 and the failure of Defendants to protect their own privileged, confidential files and

 records should not be countenanced by this Court. The instant motion is narrowly

 tailored to protect the privacy interests of a non-party to the present case and to up-

 hold the confidentiality of privileged AGC files and records that should never have

 been placed in the record in the first place. For the reasons stated in the motion and

 this brief in support, Movant respectfully requests this Court for an Order:

        1.    Striking and sealing the Complaint (ECF No. 1), the FAC (ECF No.

 13 & 14), the Defendants' Motion to Dismiss (ECF No. 11), and the Plaintiffs' Re-

 sponse to Defendants' Motion to Dismiss First Amended Complaint (ECF No. 21);

 and,

        2.    Directing Plaintiffs to refile a) ECF Nos. 1, 13, & 14 with Footnote 2,

 Exhibit 6, and Exhibit 7 redacted and all remaining occurrences of the Movant's

 name redacted and to refile b) ECF No. 21 with Exhibit | redacted and all remain-

 ing occurrences of the Movant's name redacted; and,

        3.    Directing Defendants to refile ECF No. 11 with all occurrences of the

 Movant's name redacted; and,




                                            11
Case 4:25-cv-10660-SDK-EAS ECF No. 24, PageID.1412 Filed 06/30/25 Page 26 of 41




       4.     Directing the Clerk of the Court to redact all occurrences of the

 Movant's name and other identifying information from documents filed in the

 present case subsequent to ECF No. 21; and,

       5.     Directing Plaintiffs and Defendants to refrain from further disclosure,

 dissemination, or publication of Movant's name and other identifying information

 in connection with AGC proceedings and the present case; and,

       6.      Stating that this Order shall survive the termination of this action and

 shall remain in full force and effect unless modified by an Order of this Court or by

 the written stipulation of the Movant filed with the Court.

 DATED:     June __, 2025                Respectfully submitted,

                                         /s/|
 Case 4:25-cv-10660-SDK-EAS ECF No. 24, PageID.1413 Filed 06/30/25 Page 27 of 41




                             CERTIFICATE OF SERVICE

Thereby certify that on June __, 2025, I electronically filed the above document with

the Clerk of the Court using the Pro Se Electronic Document Upload Program, which

will provide electronic copies to counsel of record.
Case 4:25-cv-10660-SDK-EAS ECF No. 24, PageID.1414 Filed 06/30/25 Page 28 of 41




                          Exhibit 4

 UNREDACTED VERSION OF
    DOCUMENT(S) TO BE
   SEALED PURSUANT TO
      LR5.3(b)(3)(B)(iii)
    The portions of the document which are the
  subject of the motion are highlighted in yellow.
Case 4:25-cv-10660-SDK-EAS ECF No. 24, PageID.1415 Filed 06/30/25 Page 29 of 41




                       UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN (FLINT)

 MARC MITCHELL SUSSELMAN                     )
 and MARTIN H. LEAF,                         )
                                             ) NO. 25-cv-10660
                      Plaintiffs,            )
                                             )   HON.   SHALINA D. KUMAR
 vs.                                         )
                                             )   MAGISTRATE      JUDGE
 MICHIGAN ATTORNEY GRIEVANCE                 ) ELIZABETH A. STAFFORD
 COMMISSION, et al.                          )
                                             )
                       Defendants.           )

  BRIEF IN SUPPORT OF NON-PARTY MOTION TO STRIKE, SEAL, AND
 REDACT     PRIVILEGED,        CONFIDENTIAL,         NON-PUBLIC,     IMMATERIAL,
       IMPERTINENT, SCANDALOUS, AND IMPROPER MATERIAL

                                     INTRODUCTION

       The present motion comes before the Court in a case where Plaintiffs seek to

 avoid accountability for alleged professional misconduct. Not content to merely at-

 tempt to evade accountability, Plaintiffs (and Defendants) also gratuitously violated

 the confidentiality of privileged Michigan Attorney Grievance Commission

 ("AGC") files and records and, therefore, Movant's right to confidentiality in the

 process. The wrongful disclosure of AGC files and records along with Plaintiffs’

 derivative averments concerning Movant are also immaterial, impertinent, scan-

 dalous, and improper and should be stricken, sealed, and redacted pursuant to Fed.

 R. Civ. Pro. 12(f)(1) and this Court's inherent authority.


                                             1
Case 4:25-cv-10660-SDK-EAS ECF No. 24, PageID.1416 Filed 06/30/25 Page 30 of 41




                                 MATERIAL       FACTS

        On April 30, 2024, Michelle J. Kinnucan ("Movant"), pro se’, filed a Re-

 quest for Investigation ("RFI") with the AGC. The RFI names Plaintiff Susselman

 as the respondent. The AGC subsequently opened an investigation based upon the

 RFI, assigning it AGC File No. 12-1244. Movant is, therefore, also the com-

 plainant in that investigation. However, Movant is not now and has never been a

 party to this case.

        Plaintiffs reference and identify Movant numerous times in their Complaint

 and First Amended Complaint ("FAC") as the complainant who filed the RFI.? ECF

 Nos. 1 & 13, passim. The RFI is incorporated in its entirety within both the Com-

 plaint and FAC as Exhibit 6. ECF No. 1, PageID.97-105; ECF No. 14, PageID.

 PageID.684-692. In addition to her name, Exhibit 6 also includes Movant's phone

 number, email address, and signature. ECF No. 1, PageID.98; ECF No. 14,

 PageID.685.

        Susselman filed an Answer, dated August 19, 2024, with the AGC. A copy of

 the Answer was provided by the AGC to Movant pursuant to Mich. Ct. R.



 1. "Pro se plaintiffs enjoy the benefit of a liberal construction of their pleadings
 and filings." Boswell v. Mayer, 169 F.3d 384, 387 (6th Cir. 1999). Cf Nixon v.
 Warner Communications, 435 U.S. at 598, 599 n.11 (1978).
 2. For example, excluding exhibits, Plaintiff's name or surname appears twenty-
 five times in the FAC alone.
Case 4:25-cv-10660-SDK-EAS ECF No. 24, PageID.1417 Filed 06/30/25 Page 31 of 41




 9.113(A). The Answer makes numerous references to Movant by name and is in-

 corporated within both the Complaint and FAC as Exhibit 7. ECF No. 1,

 PageID.106-158 passim; ECF No. 14, PageID. PageID.693-745 passim.

       In their Motion to Dismiss, Defendants, quoting the Complaint, also refer-

 ence and identify Movant by name as the complainant in the AGC's investigation

 of Susselman. ECF No. 11, PageID.477-478 46.

       On April 23, 2025, Defendants filed their Motion to Strike or Seal Plaintiffs'

 Exhibit 14 explaining that "Exhibit 14 attached to Plaintiffs' Complaint included

 purported Judicial Tenure Commission (JTC) letters against two individuals who

 are neither parties nor involved in this case." ECF No. 12, PageID.577 7. Con-

 trariwise, as of this writing, the Defendants have not filed a Motion to Strike or

 Seal any material in the case files derived from or pertaining to AGC File No. 12-

 1244 or any other AGC investigation referenced in Plaintiffs' pleadings.

       Furthermore, in their Response to Defendants' Motion to Dismiss First

 Amended Complaint, Plaintiffs reference and identify Movant by name as the com-

 plainant who filed the RFI. ECF No. 21, PageID.1201,      1210, 1215. Also, in their

 Response, Plaintiffs include as their Exhibit 1 "an affidavit provided to the   [Attor-

 ney Grievance] Commission in relation to another grievance filed against Mr. Sus-

 selman...." ECF No. 21, PageID.1226 n.5, 1238-1244. (emphasis added).
Case 4:25-cv-10660-SDK-EAS ECF No. 24, PageID.1418 Filed 06/30/25 Page 32 of 41




 Movant is identified by name as the complainant who filed the RFI in Plaintiffs'

 Exhibit 1. ECF No. 21, PageID.1243, 19.

                                     ARGUMENT

        Plaintiffs freely admit that their knowledge of Movant's identity and her per-

 sonal information is derivative of the AGC's privileged, confidential, and non-pub-

 lic investigation of Susselman: "It [i. e., the RFI] had been filed with the [Attorney

 Grievance] Commission . . . by an individual named Michelle Kinnucan, Mr. Sus-

 selman had never heard of Ms. Kinnucan . . . and he had no idea who she

 was...." ECF No. 13, PageID.592.

        It would have been a simple matter for Plaintiffs to protect the Movant's con-

 fidentiality, as required by Mich. Ct. R. 9.126(A), by redacting her name and other

 personal information from their filings in this case. Yet, instead of doing that,

 Plaintiffs further concede that they included that material in knowing violation of

 the Michigan Court Rules: "Plaintiffs recognize that under MCR 9.126(A), investi-

 gations by the [Attorney Grievance] Commission and its staff are 'privileged from

 disclosure, confidential, and may not be made public." ECF No. 13, PageID.643

 483.

        There is no exception in the Michigan Court Rules permitting Plaintiffs to

 breach the confidentiality of an AGC investigation in order to file suit against the
Case 4:25-cv-10660-SDK-EAS ECF No. 24, PageID.1419 Filed 06/30/25 Page 33 of 41




 AGC.’ Moreover, maintaining the confidentiality of complainant identities in attor-

 ney disciplinary proceedings serves important ends:

        The purposes underlying confidentiality are obvious. Foremost, the
        tule serves to protect... the complainant from possible recriminations
        .   . Moreover, removing or unnecessarily qualifying the confidential-
        ity requirement would eliminate many sources of information and re-
        duce complaints received by the Board from lay citizens, litigants,
        lawyers, and judges. Finally, the rule serves to protect public confi-
        dence in the judicial system... .

 Doe v. Board of Professional Responsibility, 104 S.W.3d 465, 472 (Tenn. 2003).

 Analogously, the Michigan Supreme Court, discussing judicial disciplinary pro-

 ceedings, stated:

        [T]he confidentiality provisions . . . protect . . . citizen complainants.
        If the respondent and others similarly situated were allowed to dis-
        cover the name of every complainant . . . the free flow of information
        to the Commission would be curtailed . . . this Court would not want
        to discourage citizen complainants from voicing their ideas.

 In the Matter of Mikesell, 396 Mich 517, 534; 243 NW2d        86 (1976). Attorney and

 judicial disciplinary proceedings are both governed by Chapter 9 of the Michigan

 Court Rules.

 3. There are only two exceptions in Mich. Ct. R. 9.126(A): "At the respondent’s
 option, final disposition of a request for investigation not resulting in formal
 charges may be made public. In addition, any interested person may inspect the re-
 quest for investigation and the respondent’s answer thereto if a disciplinary pro-
 ceeding has been filed." Neither exception applies here as there has been no "final
 disposition" of the RFI and, as Plaintiffs acknowledge, "[N]o formal charges have
 been issued by the [Attorney Grievance] Commission against Mr. Susselman ...            ."
 ECF No. 13, PageID.641 980.
Case 4:25-cv-10660-SDK-EAS ECF No. 24, PageID.1420 Filed 06/30/25 Page 34 of 41




        The aims and scope of Mich. Ct. R. 9.126(A) concerning confidentiality

 should also be interpreted in the light of Mich. Ct. R. 9.102, which states: "Sub-

 chapter 9.100 is to be liberally construed for the protection of the public, the

 courts, and the legal profession and applies to all pending matters of

 misconduct . . . ." (emphasis added).

        Furthermore, Plaintiffs' breach of confidentiality serves no legitimate pur-

 pose in their litigation. Defendants declined to deny the allegation that Plaintiffs

 are the subjects   of AGC   investigations. ECF No. 18, PageID. 882 n.2, 895 n.4.

 Thus, the Defendants have conceded that fact.      Fed. R. Civ. Pro. 8(b)(6).

        In any event, the AGC and the Grievance Administrator have a duty to in-

 vestigate all allegations of attorney misconduct. Mich. Ct. R. 9.108, 9.109. Hence,

 even assuming, for the sake of argument only, that Movant submitted the RFI for

 an improper purpose or due to bias the Defendants would still have a duty to con-

 sider and evaluate the allegations of misconduct contained therein on their merits

 and, if warranted, commence a formal investigation.

        Therefore, the inclusion of material derived from the AGC's privileged, con-

 fidential files and records adds nothing that could conceivably aid Plaintiffs (or De-

 fendants) in their litigation here and is, thus, both immaterial and impertinent

 within the meaning of Fed. R. Civ. Pro. 12(f)(1). Llewellyn-Jones v. Metro Prop.
Case 4:25-cv-10660-SDK-EAS ECF No. 24, PageID.1421 Filed 06/30/25 Page 35 of 41




 Grp., LLC, 22 F. Supp. 3d 760, 776 (E.D. Mich. 2014) ("Immaterial matter is that

 which has no essential or important relationship to the claim for relief being

 pleaded. Impertinent matter consists of statements that do not pertain, and are not

 necessary, to the issues in question.") (cleaned up).

       Furthermore, Plaintiffs' averments regarding Movant are also calculated to

 evoke scandal, within the meaning of Fed. R. Civ. Pro. 12(f)(1), and for other im-

 proper purposes. /d. ("Scandalous generally refers to any allegation that unneces-

 sarily reflects on the moral character of an individual or states anything in repul-

 sive language that detracts from the dignity of the court.") (cleaned up).

       For instance, according to an affidavit submitted to the AGC by Henry

 Brysk, with the heading "Michigan Attorney Grievance Commission", Susselman

 breached the confidentiality of AGC files and records by informing Brysk of

 Movant's name and identity as the complainant. ECF No. 21, PageID.1226 n.5;

 PageID.1243-1244 419. The fruit of this breach is presented in Plaintiffs' pleadings

 in a footnote citing hearsay. To wit, Plaintiffs write: "According to Mr. Brysk, Ms.

‘Kinnucan, who at the time was Mr. Kinnucan, had administered a virulently anti-

 Semitic blog."* ECF No. 1, PageID.42 n.2; ECF No. 13, PageID.628 n.2.


 4. Here, Susselman's immaterial reference to the gendered honorifics "Ms." and
 "Mr." is obviously intended to evoke scandal and/or gratify spite by abusing this
 Court to "out" Movant as a transgender person. Inaccurate or not, Susselman's
 averment improperly infringes on Movant's privacy and safety. Powell v. Schriver,

                                            7
Case 4:25-cv-10660-SDK-EAS ECF No. 24, PageID.1422 Filed 06/30/25 Page 36 of 41




        Elsewhere, Susselman, in his Answer to the AGC, says: "Ms. Kinnuean          is a

 political propagandist, with a particular obsession with Israel."° ECF No. 1,

 PageID.109 n.1. As his authority for the latter claims he cites a federal Freedom of

 Information Act lawsuit in which Movant is the plaintiff. However, Susselman



 175 F.3d 107, 111 (2d Cir. 1999) ("The excru[c]iatingly private and intimate nature
 of [gender identity], for persons who wish to preserve privacy in the matter, is re-
 ally beyond debate.") Cf. Bloch v. Ribar, 156 F.3d 673, 685 (6th Cir. 1998) ("Publi-
 cally revealing information [about sexuality] exposes an aspect of our lives that we
 regard as highly personal and private.") See also Grimm v. Gloucester Cty. Sch.
 Bd., 972 F.3d 586, 610-612 (4th Cir. 2020) (documenting that transgender people
 face stigma, discrimination, harassment, and violence because of their gender iden-
 tity); Hunter Iannucci, Erasing Transgender Public Figures' Former Identity with
 the Right to Be Forgotten, 73 FED. COMM. L. J. 259, 263-264 ("Transitioning is
 motivated ... partly by the fear of being 'found out,’ given the vulnerability of
 transgender persons to social stigma, discrimination, sexual assault, and physical
 attack."); and, German Lopez, /Cisgender] Women are Getting Harassed in Bath-
 rooms Because of Anti-transgender Hysteria, VOX (May 19, 2016), https://
 www.vox.com/2016/5/18/11690234/women-bathrooms-harassment .

 As a charter member of the United States Holocaust Memorial Museum, Movant
 is, seemingly, an unlikely antisemite. But see Itamar Mann & Lihi Yona, Defending
 Jews From the Definition of Antisemitism, 71 UCLA L. REV. 1150, 1154 (2024)
 ("[T]he Israeli government and its international allies are ever more forceful in
 conflating criticism of Israel with antisemitism in an effort to silence dissident
 voices.") /d. at 1174 ("The label of antisemitism ... is designed to prevent certain
 opinions from being heard.")
 5. "Political propaganda’ is ordinarily and commonly understood to mean material
 that contains half-truths, distortions, and omissions. To characterize a particular ex-
 pression of political ideas as 'propaganda' is to denigrate those ideas." Keene v.
 Smith, 569 F.Supp. 1513, 1520 (1983), rev'd sub nom. Meese v. Keene, 481 U.S.
 465 (1987). See also the dissent of Justice Blackmun: "The designation political
 propaganda’ is pejorative, denigrating to the material, and stigmatizing to those dis-
 seminating it. It simply strains credulity to assert that 'propaganda' is a neutral clas-

                                             8
Case 4:25-cv-10660-SDK-EAS ECF No. 24, PageID.1423 Filed 06/30/25 Page 37 of 41




 points to nothing in that case's record that supports his uncivil and scandalous

 claims about Movant.

       While Rule 12(f) motions are generally discountenanced "the disfavored

 character of Rule 12(f) is relaxed in the context of scandalous allegations i.e., those

 that improperly cast a derogatory light on someone." Asher & Simons, P.A. v. J2

 Global Canada, Inc., 965 F. Supp. 2d 701, 704 (D. Md. 2013) (cleaned up). Pre-

 cisely because they are wholly immaterial and impertinent the two examples above

 and other assertions about Movant, placed in the public record by Plaintiffs, were

 obviously included solely "to gratify private spite or promote public scandal".

       Susselman contends the AGC's investigation of him is antisemitic: "[T]he

 [Attorney Grievance] Commission's issuance of its Request [for Investigation] . . .

 violates the Equal Protection Clause because it unconstitutionally targets him...

 because he is Jewish." ECF No. 13, PageID.640. Clearly, by that line of argument,

 Movant is, to Plaintiffs' minds, likewise antisemitic. Thus, Plaintiffs' targeting of

 Movant are merely an expansion of their prior spiteful and scandalous attacks upon

 judges in the underlying federal case and appeals that led to the RFIs. As Defen-

 dants put it, "Plaintiffs routinely ... categorize the underlying cases' judges and De-

 fendants as antisemitic based on their own bias and irrelevant exhibits." ECF No.



 sification." /d. at 490 (cleaned up).
Case 4:25-cv-10660-SDK-EAS ECF No. 24, PageID.1424 Filed 06/30/25 Page 38 of 41




 22, PageID.1360. This Court, therefore, also has the inherent authority to purge

 this material from the public record on those grounds alone:

       Every court has supervisory power over its own records and files, and
       access has been denied where court files might have become a vehicle
       for improper purposes. For example, the common-law right of inspec-
       tion has bowed before the power of a court to insure that its records
       are not "used to gratify private spite or promote public scandal" . . .
       Similarly, courts have refused to permit their files to serve as reser-
       voirs of libelous statements ... .

 Arthur Krause v. Rhodes, 671 F.2d 212, 218 (6th Cir. 1982) (citation omitted).

       In sum, this Court has ample grounds and authority to grant the relief re-

 quested by Movant. "[T]rial courts have always been afforded the power to seal

 their records when interests of privacy outweigh the public's right to know." Jn re

 The Knoxville News-Sentinel, 723 F.2d 470, 474 (6th Circ. 1983). Here, likewise,

 the Movant is a "third party who was not responsible for the initiation of the under-

 lying litigation." /d. at 477 (cleaned up). The Movant also "possess[es] a justifiable

 expectation of privacy that [her] name and [related personal information] . . . not

 be revealed to the public. [Her] interests in privacy are sufficiently compelling to

 justify non-disclosure." /d. "As noted in Brown & Williamson, the ‘privacy rights of

 . .. third parties' are among those interests which, in appropriate cases, can limit

 the presumptive right of access to judicial records." /d. at 478.

                   CONCLUSION AND RELIEF REQUESTED



                                            10
Case 4:25-cv-10660-SDK-EAS ECF No. 24, PageID.1425 Filed 06/30/25 Page 39 of 41




        Plaintiffs' continued refusal to abide by the Michigan Court Rules, the

 Michigan Rules of Professional Conduct, and the Federal Rules of Civil Procedure

 and the failure of Defendants to protect their own privileged, confidential files and

 records should not be countenanced by this Court. The instant motion is narrowly

 tailored to protect the privacy interests of a non-party to the present case and to up-

 hold the confidentiality of privileged AGC files and records that should never have

 been placed in the record in the first place. For the reasons stated in the motion and

 this brief in support, Movant respectfully requests this Court for an Order:

        1.    Striking and sealing the Complaint (ECF No. 1), the FAC (ECF No.

 13 & 14), the Defendants' Motion to Dismiss (ECF No. 11), and the Plaintiffs' Re-

 sponse to Defendants' Motion to Dismiss First Amended Complaint (ECF No. 21);

 and,

        2.    Directing Plaintiffs to refile a) ECF Nos. 1, 13, & 14 with Footnote 2,

 Exhibit 6, and Exhibit 7 redacted and all remaining occurrences of the Movant's

 name redacted and to refile b) ECF No. 21 with Exhibit | redacted and all remain-

 ing occurrences of the Movant's name redacted; and,

        3.    Directing Defendants to refile ECF No. 11 with all occurrences of the

 Movant's name redacted; and,




                                            11
Case 4:25-cv-10660-SDK-EAS ECF No. 24, PageID.1426 Filed 06/30/25 Page 40 of 41




       4.     Directing the Clerk of the Court to redact all occurrences of the

 Movant's name and other identifying information from documents filed in the

 present case subsequent to ECF No. 21; and,

       5.     Directing Plaintiffs and Defendants to refrain from further disclosure,

 dissemination, or publication of Movant's name and other identifying information

 in connection with AGC proceedings and the present case; and,

       6.      Stating that this Order shall survive the termination of this action and

 shall remain in full force and effect unless modified by an Order of this Court or by

 the written stipulation of the Movant filed with the Court.

 DATED:     June __, 2025                Respectfully submitted,

                                         /s/
 Case 4:25-cv-10660-SDK-EAS ECF No. 24, PageID.1427 Filed 06/30/25 Page 41 of 41




                             CERTIFICATE OF SERVICE

Thereby certify that on June __, 2025, I electronically filed the above document with

the Clerk of the Court using the Pro Se Electronic Document Upload Program, which

will provide electronic copies to counsel of record.
